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       Exhibit 2
              Case 1:22-cv-00397-JMC Document
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Beneficiary   HICN            Med Record Location in CAR                         Citation to MOCA Procedure
   S.A.               VOL 4 ‐ pages 3519 ‐ 3525                    VOL 4‐ pages 3522, 3524
   C.B.               VOL 2 ‐ pages 1492 ‐ 1498                    VOL 2‐ pages 1496‐1497
   D.B.               VOL 3 ‐ pages 1896 ‐ 1906                    VOL 3 ‐ pages 1899, 1902
                      VOL 2 ‐ pages 1706 ‐ 1713, VOL 3 1907 ‐      VOL 2‐ pages 1709‐1710, VOL 3‐pages 1910‐1911, VOL 4‐
   Z.B.               1914, VOL 4 3630 ‐ 3637                      3633‐3634
   W.B.               VOL 3 ‐ pages 1915 ‐ 1924                    VOL 3 ‐ pages 1919, 1921
   J.B.               VOL 2 ‐ pages 1499 ‐ 1507                    VOL 2‐ pages 1502, 1505, 1506
   J.B.               VOL 3 ‐ pages 1925 ‐ 1933                    VOL 3‐ pages 1929, 1930, 1931
   C.B.               VOL 4 ‐ pages 3526 ‐ 3531                    VOL 4 ‐ pages 3528, 3529
   K.B.               VOL 4 ‐ pages 3532 ‐ 3543                    VOL 4‐ pages 3536‐ 3540
   K.C.               VOL 4 ‐ pages 3544 ‐ 3550                    VOL 4 ‐ pages 3547‐3548
   E.C.               VOL 2 ‐ pages 1718 ‐ 1727, VOL 4 3551 ‐      VOL 2‐ pages 1719, 1721‐22, 1726
                      3564, 3638 ‐ 3653
   W.D                VOL 2 ‐ pages 1508 ‐ 1512                    VOL 2‐ page 1511
   S.D.               VOL 2 ‐ pages 1513 ‐ 1519                    VOL 2‐ pages 1515‐1518
   C.D.               VOL 4 ‐ pages 3565 ‐ 3573                    VOL 4‐ pages 3569‐3570
   L.F.               VOL 3 ‐ pages 1934 ‐ 1953                    VOL 3‐ pages 1936, 1938, 1940, 1943, 1945, 1947, 1950
   A.F.               VOL 2 ‐ pages 1520 ‐ 1531                    VOL 2 ‐ 1524‐1526, 1528‐9
   T.G.               VOL 2 ‐ pages 1532‐ 1537, 1728 ‐ 1733 VOL    VOL 2‐ pages 1732, 1536; VOL 4‐ page 3656
                      4 3654 ‐ 3657
   W.G.               VOL 2 ‐ pages 1538 ‐ 1555                      VOL 2‐ pages 1542, 1544, 1546, 1552
   G.H.               VOL 4 ‐ pages 3574 ‐ 3578                      VOL 4‐ pages 3576‐3577
    S.H.              VOL 3 ‐ pages 1954 ‐ 1964                      VOL 3‐ pages 1958, 1961
    R.H.              VOL 4 ‐ pages 3579 ‐ 3584                      VOL 4‐ page 3582
   B.I.P.             VOL 2 ‐ pages 1556 ‐ 1561                      VOL 2‐ page 1559
     J.J.             VOL 4 ‐ pages 3438 ‐ 3444, 3585 ‐ 3587         VOL 4‐ pages 3438, 3441
     S.J.             VOL 2 ‐ pages 1562 ‐ 1567                      VOL 2‐ page 1565
     P.J.             VOL 3 ‐ pages 1965 ‐ 1969                      VOL 3‐ pages 1968‐1969
    E.K.              VOL 3 ‐ pages 1970 ‐ 1975                      VOL 3‐ page 1973
    G.K.              VOL 3 ‐ pages 1976 ‐ 1983                      VOL 3‐ page 1982
     J.L.             VOL 4 ‐ pages 3445 ‐ 3454                      VOL 4‐ page 3449‐3452
D.L./M.D.L.           VOL 2‐ pages 1568‐1575                         VOL 2‐ pages 1572‐4
    E.L.              VOL 2 ‐ pages 1576 ‐ 1582                      VOL 2‐ pages 1579‐80
    K.L.              VOL 2 ‐ pages 1583 ‐ 1588                      VOL 2‐ pages 1586, 1588
    K.L.              VOL 3 ‐ pages 1984 ‐ 1993                      VOL 3‐ pages 1986, 1989, 1991
    C.L.              VOL 2 ‐ pages 1589 ‐ 1599                      VOL 2‐ pages 1593, 1596
   K.M.               VOL 3 ‐ pages 1994 ‐ 2001                      VOL 3‐ pages 1997, 1999
   K.M.               VOL 2 ‐ pages 1600 ‐ 1609                      VOL 2‐ pages 1603‐1604, 1606
   P.M.               VOL 2 ‐ pages 1610 ‐ 1618                      VOL 2‐ pages 1612‐1613, 1616
   V.M.               VOL 2 ‐ pages 1619 ‐ 1629                      VOL 2‐ pages 1623, 1625, 1627
   B.M.               VOL 4 ‐ pages 3455 ‐ 3460                      VOL 4‐ pages 3458‐3459
   H.M.               VOL 2 ‐ pages 1630 ‐ 1635                      VOL 2‐ page 1633
    J.M.              VOL 2 ‐ pages 1636 ‐ 1643                      VOL 2‐ pages 1639, 1641‐1642
    J.M.              no supporting medical records provided
   G.M.               VOL 3 ‐ pages 2002 ‐ 2005                      VOL 3‐ pages 2004‐2005
   P.M.               VOL 2 ‐ pages 1644‐ 1650                       VOL 2‐ page 1648
     J.P.             [As CAR at 1789 shows, medical records for
                      J.P. were submitted and reviewed. Records
                      for J.P. are being located, but their omission
                      does not alter Defendant's arguments.]
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Beneficiary   HICN            Med Record Location in CAR                     Citation to MOCA Procedure
   B.P.               VOL 2 ‐ pages 1649 ‐ 1656                VOL 2‐ page 1652
   E.P.               VOL 4 ‐ pages 3461 ‐ 3466                VOL 4‐ pages 3464‐3465
   M.R.               VOL 3 ‐ pages 2006 ‐ 2018                VOL 3‐pages 2008‐2012, 2015‐2016
   A.R.               no supporting medical records provided
   B.R.               VOL 2 ‐ pages 1657 ‐ 1667                VOL‐ pages 1661, 1664
   W.R.               VOL 3 ‐ pages 1815 ‐ 1825, 2033 ‐ 2040   VOL 3‐ pages 2034‐2035, 2037‐2038, 2040, 1816‐1818,
                                                               1822
   W.S.               VOL 2 ‐ pages 1668 ‐ 1676                VOL 2‐ pages 1671, 1674
   E.S.               VOL 3 ‐ pages 1828 ‐ 1832                VOL 3‐ pages 1829‐1830
   H.S.               VOL 3 ‐ pages 1833 ‐ 1838                VOL 3‐ pages 1836‐1838
   E.S.               VOL 2 ‐ pages 1677 ‐ 1682                VOL 2‐ pages 1680‐1681
   M.S.               VOL 3 ‐ pages 1839 ‐ 1845                VOL 3‐ pages 1841, 1843
   K.T.               VOL 3 ‐ pages 1846 ‐ 1852                VOL 3‐ pages 1849‐1850
   S.T.               VOL 3 ‐ pages 1853 ‐ 1860                VOL 3‐ pages 1856‐1859
   R.T.               VOL 3 ‐ pages 1861 ‐ 1868                VOL 3‐ pages 1864, 1866
   R.T.               VOL 4 ‐ pages 3467 ‐ 3473                VOL 4‐ pages 3471‐3472
   N.W.               VOL 4 ‐ pages 3474 ‐ 3483                VOL 4‐ page 3477, 3480
   F.W.               VOL 3 ‐ pages 1869 ‐ 1875                VOL 3‐ page 1873‐1875
   H.W.               VOL 4 ‐ pages 3484 ‐ 3488                VOL 4‐ page 3487
   D.W.               VOL 2 ‐ pages 1682 ‐ 1692                VOL 2‐ pages 1687, 1690
   R.W.               VOL 3 ‐ pages 1876 ‐ 1885                VOL 3‐ pages 1881‐1883
   A.C.               VOL 4 ‐ pages 3489 ‐ 3501                VOL 4‐ page 3493, 3495, 3498
   L.W.               VOL 4 ‐ pages 3502 ‐ 3508                VOL 4‐ pages 3506‐3507
   R.Y.               VOL 2 ‐ pages 1693 ‐ 1704                VOL 2‐ pages 1697, 1700
   D.Z.               VOL 4 ‐ pages 3509 ‐ 3518                VOL 4 ‐ pages 3513, 3515, 3517
   M.Z.               VOL 3 ‐ pages 1886 ‐ 1895                VOL 3‐ Pages 1889, 1891‐1893
